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                             EXHIBIT 6

                            In Support of

           United States’ Reply to Defendants’ Oppositions to
    United States’ Second Motion for Partial Summary Judgment and
    United States’ Response to Cross-Motions for Summary Judgment
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         [PENDING MOTION TO FILE EXHIBIT 1 to
       DECL. OF LT. ALYSSA JOHNSON UNDER SEAL]

        The United States has moved to attach Exhibit 1 to the Declaration of Lieutenant Alyssa
Johnson as a sealed appendix per Paragraph 8.B of MDL No. 2179 Pre-Trial Order # 13 (Order
Protecting Confidentiality), which mandates that documents which have been designated as
“Confidential” or “Highly Confidential” must be filed under seal as an appendix to the
instrument that refers to them.
